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                   THE CHONG LAW FIRM, P.A.
                               Licensed in: Delaware, New Jersey, Pennsylvania



                                             October 28, 2022

      VIA ECF
      Hon. Colm F. Connolly
      United States Chief District Judge
      District of Delaware
      J. Caleb Boggs Federal Building
      844 North King Street
      Unit 31
      Room 4124
      Wilmington, Delaware 19801-3555

               RE: Missed Call, LLC v. Freshworks, Inc., CA No. 1:22-cv-00739-CFC
                   Missed Call, LLC v. Talkdesk, Inc., CA No. 1:22-cv-00740-CFC
                   Missed Call, LLC v. Twilio, Inc., CA No. 1:22-cv-00742-CFC
                   Safe IP LLC v. Copyleaks, Inc., CA No. 1:22-cv-00918-CFC
                  Safe IP LLC v. Grammarly, Inc., CA No. 1:22-cv-00919-CFC
                  Safe IP LLC v. Proctorio, Inc., CA No. 1:22-cv-00920-CFC

      Dear Judge Connolly:
             In response to your October 17, 2022 Order required documents that set forth
      the terms of the funding Plaintiffs receive from Ramey LLP and Chong Law Firm,
      PA. Attached are the redacted documents which set forth funding the Plaintiffs
      receive from Ramey LLP and Chong Law Firm, PA.
               Exhibit “A” - Redacted Fee Agreement Chong Law Firm, PA and Missed
               Call, LLC
               Exhibit “B” - Redacted Fee Agreement Chong Law Firm, PA and Safe IP,
               LLC
               Exhibit “C” – Redacted Ramey LLP and Safe IP, LLC
               Exhibit “D” – Redacted Ramey LLP and Missed Call, LLC

   WILMINGTON, DE                               LANSDALE, PA                        PHILADELPHIA, PA
Delaware Mailing Address                  Pennsylvania Mailing Address                      No Mail
2961 Centerville Rd. Ste 350                 100 W. Main St. Ste 420             1845 Walnut Street, Suite 1300
  Wilmington, DE 19808                         Lansdale, PA 19446                   Philadelphia, PA 19103
     T. 302-999-9480                            T. 215-909-5204                         T. 215-909-5204

                                   FAX FOR ALL LOCATIONS: 302-800-1999

                                         WWW.CHONGLAWFIRM.COM
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Should you need anything further, please contact our office.


                                Respectfully submitted,


                                CHONG LAW FIRM PA

                                /s/ Jimmy Chong
                                Jimmy Chong (#4839)
                                2961 Centerville Road, Suite 350
                                Wilmington, DE 19808
                                Telephone: (302) 999-9480
                                Facsimile: (302) 800-1999
                                Email: patent@chonglawfirm.com
